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8                                UNITED STATES DISTRICT COURT
9                                 EASTERN DISTRICT OF CALIFORNIA
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11   BRIAN DAVIS,                                      Case No.: 1:19-cv-01145 LJO JLT
12                  Plaintiff,                         ORDER TO PLAINTIFF TO SHOW CAUSE
13          v.                                         WHY THE CASE SHOULD NOT BE STAYED

14   PORTFOLIO RECOVERY ASSOCIATES,
     LLC,
15
                    Defendant.
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17          The defense has reported that the plaintiff has filed a Chapter 7 Voluntary Bankruptcy

18   petition. (Doc. 11) The defense asserts that this filing requires this Court stay this case because this

19   “claim is property of the estate.” Id. at 2. Thus, the Court ORDERS:

20          1.      No later than November 29, 2019, the plaintiff SHALL show cause why this

21   action should not be stayed due to his filing of his Chapter 7 Voluntary Bankruptcy petition.

22          The plaintiff is advised that his failure to comply with this order may result in a

23   recommendation that the action be dismissed for failure to prosecute this action.

24
25   IT IS SO ORDERED.

26      Dated:     November 5, 2019                             /s/ Jennifer L. Thurston
                                                         UNITED STATES MAGISTRATE JUDGE
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